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                      IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                              PHILADELPHIA DIVISION


In re: FELICIA NEAL                             )
        Debtor(s)                               )
                                                ) CHAPTER 13
SANTANDER CONSUMER USA INC.                     )
     Moving Party                               ) Case No.: 20-10649 (AMC)
                                                )
   v.                                           )
                                                )
FELICIA NEAL                                    )
      Respondent(s)                             )
                                                )
SCOTT F. WATERMAN                               )
     Trustee                                    )
                                                )
                                                )
                                                )

  STIPULATION OF SETTLEMENT OF OBJECTION TO CONFIRMATION: FOR
 VALUE OF VEHICLE TO BE PAID THROUGH DEBTOR’S PLAN AND ADEQUATE
                      PROTECTION PAYMENTS

                This matter having been brought before the Court on an Objection To
        Confirmation filed by William E. Craig, Esquire, attorney for Santander Consumer USA
        Inc. (“Santander”), and the Debtor through her counsel, Matthew Lazarus, Esquire and
        the parties having resolved said Objection as hereinafter set forth and by the agreement of
        all counsel the parties hereby stipulate;

               IT IS STIPULATED:

         1. That Santander is the holder of a first purchase money security interest
            encumbering a 2012 Jeep Compass bearing vehicle identification number
            1C4NJDBB9CD621002.

         2. That the Debtor agrees to pay Santander the replacement value of the vehicle of
            $9,239.40 (the net loan balance) plus interest at the rate of 15.93% through her
            bankruptcy plan. The total secured amount to be paid to Santander shall be
            $13,460.45.

         3. That the Debtor agrees to allow the Chapter 13 Trustee to make an immediate lump
            sum adequate protection payment to Santander in the amount of $700.00 through
            August 2020, and thereafter, each month, commencing September 2020, make
            monthly adequate protection payments to Santander in the amount of $100.00 up to
            and after confirmation, until normal distributions begin to be paid to Santander.
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            Thereafter, the Trustee shall make the payments to Santander as provided for by the
            confirmed plan. The Debtor shall receive a credit for all adequate protection
            payments made against the total amount to be received by Santander through the
            plan.

        4. That Santander shall retain its lien on the vehicle until the earlier of payment of the
           underlying debt under non-bankruptcy law or the Debtor receiving a discharge.

        5. If the Debtor’s Chapter 13 case dismisses or converts this Stipulation shall be
           vacated and the Debtor shall owe Santander the full amount of the existing
           contractual loan balance less any payments Santander receives under this
           agreement.

        6. That the parties agree that a facsimile signature shall be considered an original
           signature.




We hereby agree to the form and entry of this Order:


/s/ Matthew Lazarus
Matthew Lazarus, Esquire
Attorney for the Debtor


/s/ William E. Craig
William E. Craig, Esquire
Attorney for Santander Consumer USA Inc.



/s/ Polly A. Langdon
Polly A. Langdon
For Scott F. Waterman
Chapter 13 Trustee
